Case 6:13-CV-00365-BBD-KRS Document 1 Filed 03/04/1§` Page 1 of 5 Page|D 1

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FOR TIIE MII}DLE DISTRICT OF FLOR] l)A

 

ORLANDO DIVISION
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ULDIS SPROGIS ) ` 35
Plainli[`l`, ) \` -- `-'".
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\'. ) Civil Action No. _1'_ `._'_
) _ g se -w» 315-mnsz -,
SUNTRUST BANK, INC., a corporalton; ) g __' Z:
and DOES l ~ 10, inclusive, ) " ' 99
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C(_}Ml’LAIN'I` ANI) DEMAND FOR JURY TRIAL

I. INTRODUCT!O:\"
l. This is an action t`or actual and statutory damages brought by Uldis Sprogis (Plainlil`t`), an
individual consumer, against Suntrust Bonk, Ine. (Defendzutl) l`or violations of thc Florida
Consumcr Collection Practices Act, F[orid£t Slalutes §§ 559.55-559.'?85 (FCCPA) and violations
ot`lhe 'l`clcphone Consumcr l’rotection Act, 4? U.S.C. § 22? (TCP:\). Plaintif`f also alleges n
state lawton t`or intrusion upon seclusion.

H. JURISDICTION
.lurisdiclion oftltis court arises under 15 U.S.C. § 16921-;(d) amd 28 U.S.C. § 133'7 and §

2.
1331. Venuc in this District is proper in that the Defendanl transacts business here and the

conduct complained of occurred herc.

IH. PARTIES
3. i’lnintif`f`, Uldis Spt‘ogis. is nn individual residing in Ormond Bcnch, Volusia County_.
l"lot'idn 321'?¢¥. Plnintifl` is a natural person allegedly obligated to pay any debt and is titus a

"dcblor" or “consumer” as defined by Fl..»\. S”l`/\'I`. § 559.55(2).

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Case 6:13-CV-00365-3§.Q-KRS Dooument 1 Filed 03/04/1§RPage 2 of 5 Page|D 2

4. Defendant, Suntrust Bank, Inc. is a corporation with its principal place of business
located at 303 Peachtreet Street, Atlanta, Georgia 30308. Defendant engages in the collection of
debts from consumers in several states, including Florida, using the mail and telephone.
Defendant regularly collects or attempts to collect, directly or indirectly, debts owed or due or
asserted to be owed or due to another. Defendant is a “debt collector” as defined by FLA. STAT.
§ 559.55(6).
5. The true names and capacities, whether individual, corporate, or in any other form, of
Defendants DOES l through lO, inclusive, and each ol` thcm, are unknown to Plaintifl`, who
therefore sues them by such fictitious names. Plaintifl` will seek leave to amend this Complaint
to show the true names and capacities of` DOES l through 10 should they be discovered

IV. FA CTUAL ALLEGA TIUNS
6. At all times relevant to this action, Defendant was acting as a debt collector with respect
to the collection of an alleged debt owed by Plaintif`f.
7. Within one year prior to the filing of this action, Defendant attempted to collect from
Plaintiff`an obligation or alleged obligation to pay money arising out of a transaction in which

money, property, insurance, or services arc primarily for personal, family, or household purposes

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and as such is a “debt” or “consumer debt” as defined by FLA. STAT. § 559.55(1) (alleged debt).

8. Within one year prior to the filing of this action, Def`endant called Plaintiff from

telephone number (877) 654-9211 for the purpose of collecting the alleged debt.

9. Within one year prior to the filing of this action, Defendant regularly called Plaintif`f’s

cell phone number (386) 451-0374 for the purpose of collecting the alleged debt. Upon :

information and belief, Defendant constantly called Plaintif`f for the purpose of` collecting the

- 2 -
COMPLA[NT FOR DAMAGES

Case 6:13-CV-00365-R(§Q-KRS Dooument 1 Filed OS/O4/1F%Page 3 of 5 Page|D 3

alleged debt. Upon information and belief, Defendant called Plaintiff multiple times on the same
day for the purpose of collecting the alleged debt.

10. The natural consequences of Defendants conduct in constantly calling Plaintiff was to
willfully communicate with Plaintiff with such frequency as can reasonably bc expected to
harass the debtor.

l l. As a result of the acts alleged above, Plaintiff suffered emotional distress.

12. Defendant’s illegal abusive collection communications as more fully described above
were the direct and proximate cause of severe emotional distress on the part of Plaintifi`.

13. Upon information and belief, one year prior to the filing of this action, Defendant placed
calls to Plaintiff using an automatic telephone dialing system or a pre-recorded or artificial voice
to place numerous phone calls to Plaintiff.

14. Plaintiff did not expressly consent to Defcndant’s telephone calls to his cellular telephone
by the use of an automatic telephone dialing system or a pre-recorded or artificial voice prior to
the placement of the calls.

15. Nonc of Defendant’s telephone calls placed to Plaintiff were for “emergency purposes”
as specified in 47 U.S.C. § 227(b)(l)(A) f
16. Defendant willfully or knowingly violated the TCPA.

COUNT I
VIOLATION OF THE FCCPA

17. Plaintiff incorporates paragraphs l through 16.
18. Defendant violated FLA. STAT. § 559.72(7) by willfully communicating with the debtor l
or any member of her or his family with such frequency as can reasonably be expected to harass

the debtor or her or his family, or willfully engaging in other conduct which can reasonably be

_ 3 _
COMPLAINT FOR DAMAGES

Case 6:13-CV-00365-|z§,Q-KRS Dooument 1 Filed 03/04/1/§RPage 4 of 5 Page|D 4

expected to abuse or harass the debtor or any member of her or his family, in collecting a

consumer debt.

COUNT II
VIOLATION OF THE TCPA

19. Plaintiff incorporates paragraphs l through 18.

20. Defendant placed non-emergency telephone calls to Plaintiff"s cellular telephone using an
automatic telephone dialing system or pre-recorded or artificial voice without Plaintiff’s prior
express consent in violation of 47 U.S.C. § 227 (B)(l)(a)(iii).

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21. Plaintiff incorporates paragraphs l through 20.

22. Congress explicitly recognized a consumer’s inherent right to privacy in collection

matters in passing the Fair Debt Collcction Practices Act, when it stated as part of its findings:
Abusive debt collection practices contribute to the number of personal
bankruptcies, to marital instability, to loss of jobs, and to the invasions of
individual privacy, See 15 U.S.C. § l692(a)(emphasis added).

23. Defendant, intentionally interfered with the solitude and seclusion of Plaintiff by

repeatedly and unlawfully attempting to collect an alleged debt via repeated telephone calls

fit

placed by the use of illegal means and thereby invaded Plaintiff’s privacy, seclusion and solitude.
24. Defendant, intentionally caused harm to Plaintiff’s emotional well being in offensive
conduct in the course of collecting the alleged debt, and thereby invaded and intruded upon

Plaintiff‘s right to privacy,

25. Plaintiff has a reasonable expectation of privacy in maintaining Plaintist solitude,

seclusion and private affairs.

- 4 -
COMPLAINT FOR DAMAGES

Case 6:13-CV-00365-|?&D-KRS Dooument 1 Filed OS/O4/1f§% Page 5 of 5 Page|D 5

26. Defendant’s intrusions and invasions against Plaintiff occurred in a way that is highly

offensive to a reasonable person.

WHEREFORE, Plaintiff respectfully requests that the Court enterjudgment in favor of

Plaintiff and against Defendant for:

8.

b.

Actual damages; and

Statutory damages; and

Attorney’s fees, litigation expenses and costs of suit; and
Punitive damages; and

Such other or further relief as the Court deems proper.

DEMAND FOR JURY TRIAL

Please take notice that plaintiff Uldis Sprogis demands trial by jury in this action.

Dated: February 25, 2013 RESPECTFULLY SUBMIT'I`ED,

 

By:
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- 5 -
COMPLAINT FOR DAMAGES

